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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

HECTOR HERNANDEZ and
CHARLES TERMINI, individually, and on behalf
of all others similarly-situated,

          Plaintiffs,                                          Case No. 18-cv-7647

v.                                                             The Honorable Judge John Z. Lee

JAMIE RHEE, in her official capacity as                        Magistrate Judge
Commissioner of the Department of Aviation;                    Mary M. Rowland
WILLIAM HELM, in his individual capacity;
JOSEPH ALESIA, in his individual capacity;
KEVIN MARTIN, in his individual capacity; and,
the CITY OF CHICAGO, as a municipal
corporation and as indemnitor,

          Defendants.


     PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ HELM’S AND
       MARTIN’S PARTIAL MOTION TO DISMISS (DKT. 29) FOURTEENTH
                 AMENDMENT CLAIMS IN COUNTS 3 AND 5 OF
                  PLAINTIFFS’ FIRST AMENDED COMPLAINT

          NOW COME, HECTOR HERNANDEZ and CHARLES TERMINI (“Plaintiffs”),

through undersigned counsel, Cass Thomas Casper, Esq., and Gianna Scatchell, Esq., and

Respond in Opposition to Defendants’ Partial Motion to Dismiss (“Motion”) (Dkt. 29). For the

following reasons, Defendant Helm’s and Martin’s Motion should be denied.

     I.       Plaintiffs Are Not Stating A Privileges And Immunities Claim In Count 3 And
              Defendants Did Not Comply With This Court’s Standing Order On Motion
              Practice Before Filing Their Motion, Which Would Have Absolutely Resolved
              This Issue.

          Plaintiffs have not stated and have never intended to state a Privileges and Immunities-

based claim in Count 3, but rather do and intended to state an Equal Protection retaliation claim,

as discussed below. Plaintiffs were intending to emphasize the language of 42 U.S.C. § 1983,
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stating “deprivation of any rights, privileges, or immunities.” See 42 U.S.C. § 1983. While the

words “equal protection” were unfortunately not used in Count 3, such were used several times

in Count 5, which should have made clear the 14th Amendment basis for the claims in Counts 3

and 5. (Dkt. 13, FAC, ¶¶191, 192). While Count 3 should be interpreted as stating an Equal

Protection Clause claim for its 14th Amendment basis, in addition to its First Amendment basis,

Defendants certainly could have cleared up any confusion by a phone call or email to

undersigned counsels, rather than filing a Motion to Dismiss. Indeed, this Court’s Standing

Order on Motion Practice specifically says that “Before filing a motion, the movant’s counsel

must ask opposing counsel whether there is an objection to the motion.” (emphasis added).1 Of

course, Motions to Dismiss are generally opposed, but this particular issue was exactly the kind

of resolvable issue that the pre-filing phone call would have absolutely resolved.

    II.      Plaintiffs State Viable Equal Protection Clause Claims In Counts 3 And 5.

          The next issue Defendants raise is whether or not Plaintiffs may state Equal Protection

claims for retaliation in the political retaliation context. Case law in this jurisdiction supports

that they may. For example, in Pomozal v. City of Highland Park, 2003 WL 1057813 (N.D. Ill.

2003), police officers sued their employer claiming political favoritism in the distribution of

promotions, job assignments, job training, and otherwise by the administration against patrol

officers who belonged to the officers’ union or who complain of wrongdoing. Id. at *1. At the

summary judgment stage, the Court in Pomozal found that a jury could conclude that the

employer violated the plaintiffs’-officers’ Equal Protection rights because of plaintiffs’

statements on certain public issues. So too, in Ciechon v. City of Chicago, 686 F.2d 511 (7th Cir.

1982), the Seventh Circuit held that a public paramedic with the Chicago Fire Department could


1
 See Motion Practice, https://www.ilnd.uscourts.gov/judge-info.aspx?4Qf5zc8loCI5U7rfMP9DHw== (accessed
April 7, 2019).

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state an Equal Protection claim for her termination where the disciplinary proceedings

“represented an arbitrary, irrational decision to discriminate among the two paramedics,” that is,

where two similarly-situated employees were intentionally and invidiously treated differently.

686 F.2d 511 at 522-23. Given the intentional and invidious discrimination, the Court found that

an Equal Protection claim was stated. Id. So too, Olshock v. Village of Skokie, 541 F.2d 1254

(7th Cir. 1976) involved discharged police officers who sued their employer for their discharge

over engaging in a protest. The Court found that “contrary to the due process and equal

protection clauses of the Fourteenth Amendment, the defendant board and its individual

members acted in wholly arbitrary manner in purporting to distinguish between suspension and

discharge…[a]ctually, they were distinguishing between employing or not employing counsel to

represent the protest participants…[t]his was a suspect classification. . .” Olshock, 541 F.2d

1254 at 1260. See also Esmail v. Macrane, 862 F.Supp. 217, 224 (N.D. Ill. 1994); Smiley v.

Chicago, 1991 WL 156208, *6 (N.D. Ill. 1991) (while recognizing that the Courts do not allow

equal protection claims based on discretionary decisions to confer employment benefits on

certain employees, the Court stated that “[i]f plaintiffs were denied administrative leave because

of their race, religion, or some other arbitrary classifications (see, e.g., Olshock v. Village of

Skokie, 51 F.2d 1254 (7th Cir. 1976)), then they could state a cause of action for violation of

their rights to equal protection of the laws.”).

       In this case, Plaintiffs allege that they have protected whistleblower status based on

reporting of political discrimination, and that they suffered retaliation and discrimination based

on such status by the individual Defendants. (Dkt. 13, FAC, ¶¶165, 167, 168, 191, 192, 193).

This is on-point with Pomozal and Olshock, where public employees were able to successfully

proceed on Equal Protection retaliation-based claims for engaging in protest-like activity or



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complaining of wrongdoing. It is also on-point with Ciechon because the discrimination is

alleged to be intentional and invidiously directed at Plaintiffs because of their protected status.

(Dkt. 13, FAC, ¶¶5, 7, 167 (alleging bullying, intimidation, segregation, discrimination, and

belittling), 168, 192, 193). Like the officers in Olshock, Plaintiffs here are in a suspect

classification based on the allegations that they are directly cooperating with the OIG

investigation – engaging in whistleblowing -- and suffering extreme retaliation for it. (Dkt. 13,

FAC, ¶¶47-49, 53-54).

       Defendants cite Boyd v. Illinois State Police, 384 F.3d 888 (7th Cir. 2004) for their

proposition that Plaintiffs cannot sue for retaliation under the Equal Protection Clause, yet that

case involved claims of race discrimination under Title VII and for retaliation because one of the

plaintiffs was involved in the Boyd suit. Id. at 898-899. Boyd only stands for the proposition

that one cannot sue for retaliation for involvement in a lawsuit involving claims of race

discrimination because Title VII creates the comprehensive remedial scheme for retaliation in

such a context. Boyd cited Yatvin v. Madison Metro. Sch. Dist., 840 F.2d 412 (7th Cir. 1988),

and reaffirmed that “Congress would not have wanted a Title VII plaintiff to bypass the elaborate

‘administrative procedures created by the statute. . .’” Yatvin, 840 F.2d at 419. Boyd concluded

that the plaintiff was only bringing a Fourteenth Amendment claim because of his participation

in litigation, which could be redressed under Title VII or the First Amendment, but not the

Fourteenth Amendment. Boyd, 384 F.3d at 898. Defendants also cite Tate v. Ancell, 551 Fed.

Appx. 877 (7th Cir. 2014), but, again, that case involved opposition to race discrimination

redressable under Title VII. Tate, 551 Fed. Appx. at 897-898.

       If this case involved a race discrimination claim, Defendants Helm and Martin would be

correct – Congress enacted a retaliation framework in Title VII to redress such retaliation. But



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this case does not involve retaliation for reporting of race discrimination and, thus, Plaintiffs do

not have the benefit of the comprehensive remedial scheme in Title VII for their protected

reporting as was available to the plaintiffs in Boyd and Tate. Plaintiffs concede that they bring

claims under the First Amendment for retaliation. See, e.g., Doyle v. City of Chicago, 943

F.Supp.2d 815, 822 (N.D. Ill. 2013) (“To state a claim under § 1983 based on political

affiliation, a plaintiff must allege facts that demonstrate (1) that their conduct was

constitutionally protected; (2) that they suffered an actionable deprivation; and (3) that the

protected conduct was the but for cause of the employer's actions.”); Powers v. Richards, 549

F.3d 505, 509 (7th Cir. 2008); Carlson v. Gorecki, 374 F.3d 461, 464 (7th Cir. 2004); Nelms v.

Modisett, 153 F.3d 815, 818 (7th Cir. 1998); Zerante v. DeLuca, 555 F.3d 582, 585 (7th Cir.

2009). However, Plaintiffs also have stated claims under the Fourteenth Amendment because

they are alleged to be suffering retaliation because of their suspect classification as

whistleblowers/reporters, akin to the plaintiffs in Olshock and Pomozal, without any compelling

or even rational basis for the difference in treatment like the plaintiff in Ciechon. It is not just

their protected speech activity for which Plaintiffs seek redress, but their very whistleblower

status, which is a claim falling under the Equal Protection cases noted above. See Dkt. 13, FAC,

¶191 (noting the Equal Protection claim is brought “post-Engquist2 for being in the historically-

protected classification of whistleblowers”).

                                                  CONCLUSION

           For the foregoing reasons, Plaintiffs respectfully request that this Court deny Defendants’

Helm’s and Martin’s Partial Motion to Dismiss (Dkt. 29) in its entirety, and order such other

relief as it deems just and proper.



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    Defendants do not cite Engquist in their Motion to Dismiss.

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                             Respectfully submitted,

                                                     /s Cass T. Casper
                                                     /s Gianna Scatchell
                                                     ____________________________________
                                                     Plaintiffs’ Attorneys


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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on April 12, 2019, he caused to be served the

accompanying Plaintiffs’ Response in Opposition to Defendants Helm and Martin’s Partial

Motion to Dismiss Counts 3 and 5 of the Amended Complaint on counsel for all Defendants via

this Court’s CM/ECF filing system, and that counsel for all Defendants are registered e-filers.

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                                                     /s Cass T. Casper
                                                     ____________________________________
                                                     One of Plaintiffs’ Attorneys




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